
	OSCN Found Document:RE: APPT. OF MEMBERS TO OKLA. ACCESS TO JUSTICE COMM.

	
				
            
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				RE: APPT. OF MEMBERS TO OKLA. ACCESS TO JUSTICE COMM.2014 OK 75Decided: 08/06/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 75, __ P.3d __

RE: APPOINTMENT OF MEMBERS TO THE OKLAHOMA ACCESS TO JUSTICE 
COMMISSION


ORDER
Pursuant to SCAD-2014-16, the ORDER ESTABLISHING THE OKLAHOMA ACCESS TO 
JUSTICE COMMISSION codified at Part XI of the Oklahoma Supreme Court Rules Okla. 
Stat. tit. 12, ch. 15, app. 1, the following are appointed to serve on the 
Access to Justice Commission:
Honorable Douglas L. Combs, Justice Oklahoma Supreme Court, this term shall 
begin September 1, 2014, and expire September 1, 2017.
Honorable Bernard Jones, District Judge Oklahoma County, this term shall 
begin September 1, 2014, and expire September 1, 2017.
Honorable Rick Bozarth, Associate District Judge Dewey County, this term 
shall begin September 1, 2014 and expire September 1, 2016.
David Riggs, Attorney at Law, this term shall begin September 1, 2014 and 
expire September 1, 2016.
Michael Figgins, Attorney at Law, this term shall begin September 1, 2014 and 
expire September 1, 2016.
Barbara Smith, Attorney at Law, this term shall begin September 1, 2014 and 
expire September 1, 2015.
Chief Geoffrey Standing Bear, Osage Nation, this term shall begin September 
1, 2014 and expire September 1, 2015.
The duties and responsibilities for this commission are defined in SCAD 
-2014-16, Part XI of the Oklahoma Supreme Court Rules, Okla. Stat. tit. 12, ch. 
15, app. 1.
DONE BY ORDER OF THE SUPREME COURT this 6th day of August, 
2014.

/S/Chief Justice




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